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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 LUMINATI NETWORKS LTD.,                         §
                                                 §
                Plaintiff,                       §
                                                 §
 v.                                              §    CIVIL ACTION NO. 2:18-CV-00299-JRG
                                                 §
 UAB TESONET, UAB METACLUSTER                    §
 LT,                                             §
                                                 §
                Defendants.                      §

                                            ORDER

       Before the Court is Plaintiff Luminati Networks Ltd. (“Luminati”) and Defendants UAB

Teso LT and UAB Metacluster LT’s (collectively, the “Defendants”) (Luminati and Defendants,

collectively, the “Parties”) Joint Stipulation to Dismiss with Prejudice (the “Stipulation”). (Dkt.

No. 328.) In the same, the Parties move to dismiss all claims and counterclaims with prejudice,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Having considered the Stipulation, the

Court. is of the opinion that it should be and hereby is APPROVED.

       Accordingly, it is ORDERED that all claims and counterclaims between the Parties in the

above-captioned case are DISMISSED WITH PREJUDICE. It is further ORDERED that each

party shall bear their own respective attorney’s fees and costs. All pending requests for relief

between the Parties are DENIED AS MOOT. The Clerk of the Court is directed to CLOSE the

above-captioned case.


        So ORDERED and SIGNED this 4th day of February, 2020.




                                                           ____________________________________
                                                           RODNEY GILSTRAP
                                                           UNITED STATES DISTRICT JUDGE
